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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ILLINOIS

 SOUTHERN ILLINOIS MOTOR
 XPRESS, INC., et al,

           Plaintiff,

 v.

 KG ADMINISTRATIVE SERVICES,
                                             Case No. 18-cv-02067-SPM
 INC., KEISER GROUP LLC,
 TRACEY KEISER, ROBERT
 FRAZIER, PEOPLEASE, LLC, AND
 PLC SERVICES, LLC,

           Defendants.


                             DEFAULT JUDGMENT

      Pending before the Court is a Motion for Default Judgment against defendants

Tracey Keiser and Robert Frazier (Doc. 200). For the following reasons, said Motion is

GRANTED, and default judgment is entered against Keiser with respect to Counts I,

III, IV, V, VI, and VII, and against Frazier with respect to Counts I, III, IV, V, and VII

of Plaintiff’s First Amended Complaint.

      On July 22, 2021, an evidentiary hearing was held regarding damages. Despite

having notice of the hearing and an opportunity to be heard (Doc. 183), neither Keiser

nor Frazier appeared (Doc. 188). Based upon the testimony presented at the hearing,

the Court found that plaintiff, Southern Illinois Motor Xpress, Inc. (“SIMX”), proved

damages and entered a default judgment against KG Administrative Services, Inc. and

The Keiser Group, LLC (Doc. 192).




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        On September 14, 2021, a final pre-trial conference was held in this case. Despite

having notice of the conference which had been scheduled on March 9,2021 (Doc. 168),

and an opportunity to be heard, neither Keiser nor Frazier appeared or advised the

Court of their inability to appear (Doc. 198). Prior to the hearing and in accordance with

chambers procedures, all parties, including Keiser and Frazier, submitted the parties’

proposed joint final pretrial order. 1

        On September 15, 2021, an Entry of Default was entered against Keiser and

Frazier for failing to attend the pretrial conference in defense of this action (Doc. 199).

        In light of the foregoing and in accordance with Rule 55(b) of the Federal Rules

of Civil Procedure, the Court finds that SIMX has proven that they are entitled to

Default Judgment against Tracey Keiser and Robert Frazier. Additionally, SIMX has

already proven damages via the previous evidentiary hearing and counsel have advised

that they are not seeking additional recovery.

        The Court hereby enters an aggregate judgment in favor of Plaintiffs and against

Defendants KG Administrative Services, Inc., The Keiser Group, LLC, Tracey Keiser

and Robert Frazier, in the total amount of $9,044,819.12, which includes an award of

$3,000,000.00 for punitive damages; the Court further awards post-judgment interest

at the legal rate provided by law until paid in full.

        The breakdown is as follows:

        Count I/Fraud - $3,905,491.26

               $580,561.77 in compensatory damages;
               $324,919.49 in attorney’s fees and expenses; and,

1 In accordance with Judge McGlynn’s practice and Local Rule 16.2(b)(1), parties shall submit a signed,
joint Final Pretrial Order no later than 3 days prior to the Final Pretrial Conference. Said Order was
received via email from Neal Settergren, counsel for SIMX, on September 10, 2021 at 10:47 a.m.
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               $3,000,000.00 in punitive damages.

        Count III/Defamation - $3,139,337.86
            $3,139,337.86 in compensatory damages

        Count IV/Conversion - $2,000,000.00
            $2,000,000.00 in compensatory damages

        Count V/Civil Conspiracy (Keiser & Frazier) – $0 2

        Count VI/Professional Negligence/Breach of Fiduciary Duty
            (Keiser) - $0

        Count VII/ Breach of Fiduciary Duty - $0

        Pursuant to Rule 54(b)(2), the Court enters this final default judgment finding

that there is no just reason for delay, especially since other parties are also pursuing

financial recoveries against KG Administrative Services, Inc., The Keiser Group, LLC.,

Tracey Keiser, and Robert Frazier.

        IT IS SO ORDERED.

        DATED: October 22, 2021



                                                       /s/ Stephen P. McGlynn
                                                       STEPHEN P. McGLYNN
                                                       U.S. District Judge




2
 To avoid any potential for duplicitous recovery, the Court elects not to award damages for Counts
V - Counts VII since the damages it would have awarded are already included within the damages
awarded in Counts I, III and IV.

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